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 7
                               IN THE UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 9    HELENE SOLOMON,
                                                             NO.
10           Plaintiff,
                                                             COMPLAINT FOR DAMAGES AND
11      v.                                                   PERSONAL INJURIES

12    HOLLAND AMERICA LINE, INC., a                          JURY DEMAND
      Washington corporation; HOLLAND
13    AMERICA LINE - U.S.A. INC, a Delaware
      corporation; HOLLAND AMERICA LINE
14    N.V. LLC, a Curacao corporation; and HAL
      ANTILLEN N.V., a Curacao corporation,
15
             Defendants.
16
              COMES NOW the above-captioned Plaintiff, by and through her undersigned attorney
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     of record, David P. Roosa of FRIEDMAN│RUBIN PLLP, and for cause of action alleges and
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     asserts as follows:
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                                                   I. PARTIES
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               1.         Plaintiff Helene Solomon is a resident of New York, New York County
21
     (Manhattan), New York, and is a citizen of New York.
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 1             2.    Defendant Holland America Line, Inc. (hereinafter “HAL, Inc.”), is a corporation

 2   formed and existing by virtue of the laws of the state of Washington. Defendant HAL, Inc., has

 3   its principal place of business in Seattle, King County, Washington, and was an agent of

 4   Defendants Holland America Line N.V. and HAL Antillen N.V. at all times material hereto.

 5             3.    Defendant Holland America Line – U.S.A. Inc. (hereinafter “HAL – U.S.A.”) is

 6   a corporation formed and existing by virtue of the laws of the state of Delaware. Defendant HAL

 7   – U.S.A. has its principal place of business in Seattle, King County, Washington, and was an

 8   agent of Defendants Holland America Line N.V. and HAL Antillen N.V. at all times material

 9   hereto.

10             4.    Defendant Holland America Line N.V. LLC (hereinafter “HAL N.V.”) is a foreign

11   corporation formed and existing by virtue of the laws of Curacao. Defendant HAL N.V. chartered

12   the ms Koningsdam at all times material hereto.

13             5.    Defendant HAL Antillen N.V. (hereinafter “HAL Antillen N.V.”) is a foreign

14   corporation formed and existing by virtue of the laws of Curacao. Defendant HAL Antillen N.V.

15   owned the ms Koningsdam at all times material hereto.

16                                    II. JURISDICTION AND VENUE

17             6.     This Court has subject-matter jurisdiction over Plaintiff’s claims pursuant to 28

18   U.S.C. § 1332 (diversity) because the amount in controversy exceeds $75,000, exclusive of

19   interest and costs, and there exists complete diversity of citizenship between Plaintiff, who is a

20   New York citizen, and Defendants HAL N.V. and HAL Antillen N.V., both Curacao corporations,

21   and Defendants HAL, Inc. and HAL – U.S.A., both Washington corporations.

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 1           7.       This Court has personal jurisdiction over Defendants HAL, N.V.; HAL Antillen

 2   N.V.; HAL, Inc.; and HAL – U.S.A. General jurisdiction exists for all defendants based on their

 3   substantial, continuous, and systematic business contacts with the state of Washington.

 4           8.       Venue is proper in this District under 28 U.S.C.§ 1391(b), (c) because all of the

 5   defendants are subject to the Court’s personal jurisdiction with respect to the civil action in

 6   question and therefore reside within this District.

 7           9.       Personal jurisdiction also exists and venue is also properly lodged in this Court

 8   pursuant to the forum-selection clause contained in the Cruise Contract.

 9                                 III. FACTS OF THE OCCURRENCE

10           10.      Plaintiff entered into a contract of carriage with the defendants, which was issued

11   in Seattle, Washington, for the purpose of passage on the vessel ms Koningsdam for a cruise.

12           11.      The ms Koningsdam is a luxury passenger cruise ship owned and operated by

13   Defendants in their business as a provider of cruise services and travel.

14           12.      The cruise began in Rome, Italy, on or about October 31, 2019, and returned to

15   Fort Lauderdale, Florida on November 13, 2019, after cruising the Mediterranean.

16           13.      On or about November 6, 2019, while at sea, Ms. Solomon was playing ping

17   pong on the upper deck of the ship. As she walked to retrieve a ball, she lost her footing on a

18   slippery spot on the floor, and she fell. A HAL employee who responded to the scene admitted

19   that he also believed the floor was slippery.

20           14.      As a direct and proximate result of this occurrence, Ms. Solomon suffered serious

21   injuries including, but not limited to a fracture of her right femur.

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 1           15.      Defendants’ staff aboard the ms Koningsdam failed to use due care for the safety

 2   of others by failing to maintain the deck in a safe manner, passengers were expected to be

 3   walking.

 4           16.      Upon information and belief, Defendants failed to properly post warnings,

 5   implement policies and procedures, or otherwise take steps that would have prevented this

 6   incident from occurring.

 7           17.      Plaintiff committed no negligent act and was not at-fault for the subject incident.

 8           18.      At all times material hereto, each of the defendants were agents, employees,

 9   and/or representatives of each other and acted within the course and scope of their employment

10   and/or agency.

11           19.      Plaintiff was a fare-paying passenger aboard the ms Koningsdam at all times

12   material hereto.

13           20.      Plaintiff has met all conditions precedent to maintaining this action including

14   delivering written notice of her claim pursuant to the “Cruise and Cruisetour Contract”

15   (hereinafter “Cruise Contract”).

16                                         IV. LIABILITY
                                (TORTIOUS CONDUCT AND INACTION)
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             21.      Plaintiff realleges and incorporates by reference the allegations in Paragraphs 1
18
     through 20 above as if fully set forth herein.
19
             22.      Defendants owed Plaintiff a duty to exercise reasonable care under the
20
     circumstances. This duty included (a) a duty to warn passengers of an unreasonably dangerous
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     condition of which they were actually or constructively aware, (b) a duty to properly maintain
22
     the vessel in a reasonably safe condition, and (c) a duty to exercise reasonable care for the safety
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     of its passengers on their ship.


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 1           23.     Defendants knew or reasonably should have known about the unreasonably

 2   dangerous condition posed by failing to maintain the deck where passengers were expected to

 3   walk.

 4           24.     The unreasonably dangerous condition posed by the slippery floor was not

 5   apparent, open, or obvious to Plaintiff.

 6           25.     It is reasonably foreseeable that a slippery substance on the deck could cause

 7   injury to passengers utilizing the deck.

 8           26.     Defendants breached their duty of reasonable care by, inter alia, failing to warn

 9   Plaintiff of the unreasonably dangerous condition posed by the slippery deck, failing to keep the

10   deck free of all hazards, and failing to implement and follow appropriate safety and cleaning

11   precautions that could have prevented this incident.

12           27.     Plaintiff’s injuries and damages are a direct and proximate result of Defendants’

13   negligent failures and/or omissions alleged herein.

14                                               V. DAMAGES

15           28.     Plaintiff realleges and incorporate by reference the allegations in Paragraphs 1

16   through 27 above as if fully set forth herein.

17           29.     As a direct and proximate result of Defendants’ negligence, Plaintiff has incurred

18   reasonable and necessary medical expenses, and will incur future medical expenses related to

19   Defendants’ negligence.

20           30.     As a further direct and proximate result of Defendants’ negligence, Plaintiff has

21   experienced pain and suffering, both mental and physical, and disability, and with a reasonable

22   certainty will experience same in the future. Further, Plaintiff has suffered a reduction in

23   Plaintiff’s ability to enjoy life, both past and future, as she previously enjoyed.



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 1                                           VII. JURY DEMAND

 2           31.     Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by

 3   jury as to all issues so triable in this action.

 4                                       VIII. RELIEF REQUESTED

 5           WHEREFORE, Plaintiff requests the following relief against Defendants, jointly and

 6   severally:

 7           A.      For monetary judgment in such sum as will fully and fairly compensate Plaintiff

 8 for her injuries, general damages, special damages, including prejudgment interest, other damages

 9 to be proven at trial, and attorney fees and costs and disbursements herein, together with such other

10 relief as the Court deems fair and equitable.

11           DATED this 4th of August, 2020.

12                                                      FRIEDMAN | RUBIN PLLP

13
                                                        /s/ David P. Roosa
14                                                      David P. Roosa, WSBA #45266
                                                        Attorneys for Plaintiff
15                                                      1109 – 1st Avenue, Suite 501
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